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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

MID-WEST CONVEYOR COMPANY,                       )
                                                 )
                             Plaintiff,          )
                      v.                         )
                                                 )    Case No. _______________________
ARCH INSURANCE COMPANY,                          )
                                                 )
                             Defendant.          )
                                                 )
Serve: Arch Insurance Company                    )
c/o Insurance Commissioner                       )
420 SW 9th Street Topeka, Kansas 66612-          )
1678                                             )
                                                 )
                                          COMPLAINT

       Plaintiff Mid-West Conveyor Company (“Mid-West Conveyor”), by counsel Lathrop

Gage LLP, for its Complaint against Defendant Arch Insurance Company (“Arch”) states and

alleges as follows:

                                    NATURE OF THE ACTION

       1.        This is an insurance coverage action for declaratory relief, breach of contract,

and breach of the covenant of good faith and fair dealing regarding Arch’s refusal to defend Mid-

West Conveyor in a lawsuit brought by North Alabama Fabricating Company, Inc. (“NAFCO”)

styled as NAFCO v. Bedeschi Mid-West Conveyor Company, LLC et al., Case No. 2:16-cv-2740

in the United States District Court for the District of Kansas (the “NAFCO Lawsuit”). A copy of

the underlying NAFCO Complaint is attached as Exhibit A.

       2.        Arch issued Mid-West Conveyor a claims-made Directors & Officers Liability

insurance policy titled “Arch Corporate Canopy Policy Private Company Management Liability

& Crime Insurance” bearing policy number PCD 9300378-02, with an initial policy period of



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December 17, 2015 to December 17, 2016, which was extended through December 17, 2017 (the

“Policy”). A copy of the Policy is attached as Exhibit B.

          3.     The Policy provides that Arch will defend and indemnify certain covered

liability claims asserted against Mid-West Conveyor, including the claims asserted in the

NAFCO Lawsuit.

          4.     Arch initially denied any coverage obligations, including any obligation to

defend Mid-West Conveyor in connection with the NAFCO Lawsuit. Later, Arch agreed to

partially reimburse some of Mid-West Conveyor’s defense costs.

          5.     Arch was obligated to provide a complete defense to Mid-West Conveyor for

the NAFCO litigation, and engaged in certain misconduct related to the handling of the claim, as

described below.

                                            PARTIES

          6.     Mid-West Conveyor is a corporation organized and existing under the laws of

the State of Kansas and has its principal place of business at 8245 Nieman Road, Lenexa,

Kansas.

          7.     Upon information and belief, Arch is a corporation organized and existing under

the laws of the State of Missouri and has its principal place of business in the State of New

Jersey.

                                JURISDICTION AND VENUE

          8.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because Mid-West

Conveyor and Arch are citizens of different states and the amount in controversy exceeds

$75,000, exclusive of interest and costs. As of the date of this Complaint, Arch has not paid




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Mid-West Conveyor any amount for its defense or indemnity costs arising from the NAFCO

Lawsuit (approximately $277,500).

        9.       Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b)(2) because

a substantial part of the events giving rise to Mid-West Conveyor’s claims occurred in this

District, including Arch’s refusal to pay defense and indemnity to Mid-West Conveyor for the

NAFCO Lawsuit.

                            FACTS COMMON TO ALL COUNTS

        10.      On October 28, 2016, NAFCO filed the NAFCO Lawsuit bringing allegations

against Mid-West Conveyor for, among other things, alleged false statements and

misrepresentations concerning the manufacture and shipment of fabricated steel.

        11.      The NAFCO Complaint was never amended.

        12.      Mid-West Conveyor notified Arch, provided Arch a copy of the NAFCO

Complaint, and demanded defense and indemnity under the Policy no later than November 7,

2017.

        13.      Under the Policy, Arch agreed to “defend each Claim … for which [Arch]

receives notice, even if such Claim is groundless, false or fraudulent.” See Exhibit B, p. 13.

        14.      A “Claim” under the Policy includes any civil proceeding for a “Wrongful Act”

by Mid-West Conveyor, its executives, or its employees. A “Wrongful Act” includes “any

actual or alleged [] act, error, omission, misstatement, misleading statement, neglect or breach of

duty” by Mid-West Conveyor, its executives, or its employees. See Exhibit B, p. 22.

        15.      Mid-West Conveyor has satisfied its obligations under the Arch Policy,

including (but not limited to) making full premium payment and providing timely and adequate

notice of the NAFCO Lawsuit.


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       16.         Alternatively, Arch has waived any coverage defense it may have based on non-

payment of premium or failure to provide timely and adequate notice.

       17.         Because one or more claims alleged in the NAFCO Lawsuit is at least

potentially covered, Arch was required to defend the entire action.

       18.         Arch is obligated to pay Mid-West Conveyor for all of its un-reimbursed

defense expenses in connection with the NAFCO Lawsuit.

       19.         On or about November 9, 2017, Arch acknowledged the notice of the NAFCO

Lawsuit.

       20.         On or about December 13, 2017, Arch wrongfully denied any coverage

obligations to Mid-West Conveyor for the NAFCO Lawsuit.

       21.         On or about February 16, 2018, Mid-West Conveyor, through counsel,

requested that Arch withdraw its coverage denial and accept its coverage obligations.

       22.         On or about March 16, 2018, Arch reiterated its denial, re-asserting that Arch

had no duty to defend, that the Policy would only provide excess coverage for the NAFCO

litigation, and contending that coverage was excluded.

       23.         In continued attempt to obtain the insurance benefits it was owed under the

Policy, on or about April 25, 2018, Mid-West Conveyor, through counsel, further explained

Arch’s coverage obligations under the Policy and again requested that Arch withdraw its

coverage denial.

       24.         Despite no change to the operative pleadings, on May 24, 2018, more than five

months after initially denying coverage for the NAFCO Lawsuit, Arch withdrew its denial and

agreed to reimburse twenty-two percent (22%) of Mid-West Conveyor’s defense costs in the

NAFCO Litigation, but only from November 7, 2017 forward.


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       25.       Arch’s belated acceptance of coverage nevertheless repudiated any obligation to

reimburse defense costs above and beyond 22%, an improper allocation between what Arch

deemed to be covered and uncovered claims, purportedly based on an endorsement attached to

the Policy, Endorsement 6.

       26.       The limitations purportedly relied on by Arch in Endorsement 6 do not by their

terms apply if Mid-West Conveyor, “tenders the defense of a Claim,” which Mid-West

Conveyor did. See Exhibit B, p. 70.

       27.       Since Arch’s acceptance of certain coverage obligations, Mid-West Conveyor

has continued to try to secure the full insurance benefits owed under the Policy, including a

complete defense of the NAFCO Lawsuit.

       28.       Arch has persisted in its deceptive, wrongful, and unreasonable treatment of its

insured and the operative Policy language.

       29.       Arch has failed to pay Mid-West Conveyor any amount for defense of the

NAFCO Lawsuit.

       30.       Arch has failed to pay Mid-West Conveyor any amount for indemnity of the

NAFCO Lawsuit.

                                             COUNT 1

                                DECLARATORY JUDGMENT

       31.       Mid-West Conveyor incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if fully set forth herein.

       32.       Mid-West Conveyor is entitled to have the Policy interpreted in a reasonable

manner that maximizes its insurance coverage and protects Mid-West Conveyor’s reasonable

expectation of coverage.


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       33.       Mid-West Conveyor asserts and believes that under the Policy, Arch has a duty

to defend and indemnify Mid-West Conveyor with respect to the NAFCO Lawsuit.

       34.       Mid-West Conveyor believes, and on that basis asserts, that Arch denies it has

any duty to defend, to reimburse any costs or fees incurred prior to November 7, 2017 (the “Pre-

Tender Costs”), or to contribute more than 22% of defense costs incurred after November 7,

2017 and settlement of the NAFCO Lawsuit.

       35.       By reason of the foregoing, an actual and justiciable controversy exists between

Mid-West Conveyor and Arch regarding Arch’s coverage obligations under the Policy.

       36.       Mid-West Conveyor thus seeks a judicial declaration by this Court of Arch’s

obligation to defend and indemnify Mid-West Conveyor in the NAFCO Lawsuit and pay all un-

reimbursed defense fees and costs and costs of settlement incurred and to be incurred therein by

Mid-West Conveyor. For the foregoing reasons, such a judicial declaration is necessary and

appropriate.

                                            COUNT 2

        BREACH OF CONTRACT—REFUSAL TO DEFEND OR PAY BEFORE
                           MAY 24, 2018

       37.       Mid-West Conveyor incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if fully set forth herein.

       38.       Mid-West Conveyor has incurred, or will incur in the future, damages arising

out of Arch’s denial of coverage for the NAFCO Lawsuit prior to May 24, 2018.

       39.       Arch, in bad faith and consistent with its routine business practices, breached its

duties and obligations under the Policy by denying any coverage obligations before May 24,

2018. Specifically, Arch:




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         (a)      Failed to properly or timely investigate Mid-West Conveyor’s coverage

                  claims;

         (b)      Refused to accord a reasonable interpretation to the provisions in the Policy,

                  and refused to accord any reasonable application of such provisions to Mid-

                  West Conveyor’s coverage claims;

         (c)      Failed to provide Mid-West Conveyor with an adequate and timely explanation

                  for the true basis of its initial denial of coverage, as evidenced by Arch’s

                  subsequent acceptance of its coverage obligations more than five months after

                  its denial, despite the NAFCO Complaint remaining unchanged;

         (d)      Refused to acknowledge its coverage obligations to Mid-West Conveyor in the

                  NAFCO Lawsuit before May 24, 2018 based upon the allegations in the

                  NAFCO Complaint; and

         (e)      Impeded and obstructed Mid-West Conveyor’s ability to defend itself in the

                  NAFCO Lawsuit by withholding benefits and wrongfully repudiating its

                  obligations.

       40.       For each of the reasons enumerated in paragraph 39, Arch has rejected and/or

repudiated and breached its duty to defend or pay Mid-West Conveyor.

       41.       Arch’s refusal to defend Mid-West Conveyor in the NAFCO Lawsuit prior to

May 24, 2018 was arbitrary and capricious, as the allegations set forth in the NAFCO Complaint

gave rise to a potential for coverage under the Policy, triggering Arch’s duty to defend or to pay.

       42.       As a direct and proximate result of these breaches, Arch is liable to Mid-West

Conveyor for damages in excess of $75,000 for all costs and fees incurred by Mid-West

Conveyor in defense of the NAFCO Lawsuit for which Mid-West Conveyor has not previously


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been paid, together with the costs and disbursements of this action, including, but not limited to,

reasonable attorneys’ fees and costs, based in part on K.S.A. § 40-256, pre-judgment and post-

judgment interest, other consequential damages, punitive damages in such sum as the fact finder

determines to be fair and reasonable under the circumstances and which will serve to punish

Arch and deter it from similar conduct in the future, and any such other relief that the Court

deems just and proper.

                                             COUNT 3

              BREACH OF CONTRACT—BREACH OF THE DUTY TO DEFEND

        43.       Mid-West Conveyor incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if fully set forth herein.

        44.       Under the Policy, Arch agreed to defend Mid-West Conveyor against certain

potentially covered claims, including those asserted in the NAFCO Lawsuit.

        45.       Arch denied its duty to defend the NAFCO Lawsuit and has instead imposed an

unwarranted allocation formula under which Mid-West Conveyor must provide its own defense

and under which Arch only reimburses 22% of the incurred costs. Such allocation formula is not

set forth in the Policy.

        46.       Mid-West Conveyor has incurred, and will incur in the future, damages arising

out of Arch’s refusal to defend Mid-West Conveyor in the NAFCO Lawsuit.

        47.       Arch has, in bad faith and consistent with its routine business practices,

breached its duties and obligations under the Policy by refusing to defend Mid-West Conveyor in

the NAFCO Lawsuit. Specifically, Arch has:

         (a)       Failed to fairly or timely investigate Mid-West Conveyor’s coverage claims;




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         (b)       Refused to accord any reasonable interpretation to the provisions in the Policy,

                   and refused to accord any reasonable application of such provisions to Mid-

                   West Conveyor’s coverage claims;

         (c)       Failed to provide Mid-West Conveyor with an adequate and timely explanation

                   for the true basis of its initial denial of coverage, as evidenced by Arch’s

                   subsequent acceptance of its coverage obligations more than five months after

                   its denial despite the NAFCO Complaint remaining unchanged;

         (d)       Sought to require allocation of defense costs not set forth in the Policy, and

                   sought to impose an unreasonably low rate of reimbursement even if allocation

                   were permitted, impeding Mid-West Conveyor’s ability to defend itself in the

                   NAFCO Lawsuit; and

         (e)       Refused to pay Mid-West Conveyor all otherwise unreimbursed amounts

                   incurred by Mid-West Conveyor in defense of the NAFCO Lawsuit.

       48.       For each of the reasons enumerated in paragraph 47 Arch has rejected and/or

repudiated and breached its duty to defend Mid-West Conveyor.

       49.       In denying its duty to defend and imposing an unwarranted and unreasonable

allocation scheme, Arch has refused to perform its coverage obligations under the Policy, and

therefore is in breach of its contract of insurance.

       50.       As a direct and proximate result of these breaches, Arch is liable to Mid-West

Conveyor for damages in an amount yet to be ascertained for all unreimbursed costs of defense

and other sums incurred by Mid-West Conveyor, or which may be incurred, together with the

costs and disbursements of this action, including, but not limited to, reasonable attorneys’ fees

and costs, based in part on K.S.A. § 40-256, pre-judgment and post-judgment interest, other


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consequential damages, punitive damages in such sum as the fact finder determines to be fair and

reasonable under the circumstances and which will serve to punish Arch and deter it from similar

conduct in the future, and any such other relief that the Court deems just and proper.

                                             COUNT 4

             BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

       51.        Mid-West Conveyor incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as it they were set out fully herein.

       52.        Arch owes to Mid-West Conveyor a fiduciary obligation and a duty of good

faith and fair dealing and has breached this duty, including but not limited to engaging in the

following acts:

         (a)       Unreasonably failing or refusing to accept coverage for the NAFCO Lawsuit;

         (b)       Failing to investigate Mid-West Conveyor’s coverage claims fairly or in a

                   timely manner;

         (c)       Failing to consider all relevant information in its possession to establish

                   coverage for the NAFCO Lawsuit;

         (d)       Failing to promptly or properly communicate with Mid-West Conveyor with

                   regard to coverage for the NAFCO Lawsuit and Mid-West Conveyor’s rights

                   under the Policy;

         (e)       Interpreting its Policy provisions in an unreasonable and unfair manner to

                   minimize Arch’s liability without regard for the rights and interests of Mid-

                   West Conveyor;




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         (f)      Refusing to accord any reasonable interpretation to the provisions in Policy,

                  and refusing to accord any reasonable application of such provisions to Mid-

                  West Conveyor’s coverage claims;

         (g)      Failing to provide Mid-West Conveyor with an adequate and timely

                  explanation for the true basis of its initial denial of coverage, as evidenced by

                  Arch’s subsequent acceptance of its coverage obligations more than five

                  months after its denial despite the NAFCO Complaint remaining unchanged;

         (h)      Refusing to acknowledge its coverage obligations to Mid-West Conveyor in

                  the NAFCO Lawsuit before May 24, 2018 based upon the allegations in the

                  NAFCO Complaint; and

         (i)      Failing to pay or authorizing payment for a settlement demand made in the

                  NAFCO Lawsuit within the limits of coverage.

       53.       Arch’s above-described actions and omissions with regard to the subject claim

constitute a breach of its duty of good faith and fair dealing owed to its insured.

       54.       As a direct consequence of Arch’s breach of its duty of good faith and fair

dealing, Mid-West Conveyor has incurred damages and substantial attorneys’ fees and costs.

       55.       As a direct and proximate result of Arch’s breach of its duty of good faith and

fair dealing, Arch is liable to Mid-West Conveyor for damages in an amount yet to be

ascertained for all costs of defense and other sums incurred to date by Mid-West Conveyor, or

which may be incurred, together with the costs and disbursements of this action, including, but

not limited to, reasonable attorneys’ fees and costs, based in part on K.S.A. § 40-256, pre-

judgment and post-judgment interest, other consequential damages, punitive damages in such

sum as the fact finder determines to be fair and reasonable under the circumstances and which


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will serve to punish Arch and deter it from similar conduct in the future, and any such other

relief that the Court deems just and proper.

                           PRAYER FOR RELIEF AGAINST ARCH

       WHEREFORE, Plaintiff Mid-West Conveyor prays for a judgment in its favor and

against Defendant Arch Insurance Company as follows:

       (a)     Payment in excess of $75,000 for outstanding defense fees and costs incurred in

               the NAFCO Lawsuit;

       (b)     Pre-judgment and post-judgment interest based upon and added to the damages as

               allowed by law;

       (c)     Attorneys’ fees and costs associated with this action, based in part on K.S.A.

               § 40-256;

       (d)     Other consequential damages, if applicable;

       (e)     Punitive damages in such sum as the fact finder determines to be fair and

               reasonable under the circumstances and that will serve to punish Arch and deter it

               from similar conduct in the future;

       (f)     A declaration that Arch is obligated to reimburse Mid-West Conveyor for the Pre-

               Tender Costs;

       (g)     A declaration that Arch was obligated to defend Mid-West Conveyor under the

               Policy with respect to the NAFCO Lawsuit; and

       (h)     Such other and further relief to which Mid-West Conveyor may be entitled or as

               the Court may deem just and proper.




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                                      DEMAND FOR JURY TRIAL

        Mid-West Conveyor, by its counsel, hereby respectfully request a trial by jury on all

issues so triable.

                                      PLACE FOR JURY TRIAL

        Pursuant to D. Kan. R. 40.2(a), Mid-West Conveyor designates Kansas City, Kansas as

the place of trial for this matter.



Dated: November 15, 2018                 Respectfully submitted,

                                         LATHROP GAGE LLP


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